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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Dynamite Marketing, Inc.                       )
                                               )     Case No. 18-cv-7760
v.                                             )
                                               )     Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                           )
UNINCORPORATED ASSOCIATIONS                    )     Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                     )
                                               )
                                               )



                                   Conditional Voluntary Dismissal


        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Dynamite Marketing, voluntarily

dismisses the Plaintiff’s case against the following Defendants, pursuant to a settlement

agreement reached by the parties:

 Doe     Store Name                                          Merchant ID
 22      zhangziyuan                                         5799b72cfdd13f536e320cb1
 23      zhuling123456                                       5799c3ee141f7e3ce233b247
 24      songchunxuhh                                        58525ddaba7e476a8cbf01b5
 28      zgszyouth0103                                       59f29a7fdc7a9160a0ff6e13
 29      liuzhongyi123                                       5a76fd569c15ff1c04157a5f
 30      sdadmenghai                                         5a9eb29b2fbbdc29029fa3c2
 31      pppppp                                              5aa13b1accf0c8025375d134
 32      xiaoxilongaiwan                                     5aa2d3cf18435441efa76944
 33      yuantoton                                           5aa34338c98949506b8c9ce8
 34      yangyi123                                           5aa6645915511a42fedec0e0
 35      wangmeng111                                         5aa7700dc3911a4de238e9fb
 36      zengyez                                             5aaa32361843545d30b0ddf9
 38      efoxebusinessinternationalcoltd                     53d8e270ff4d6d369ece5cba
 39      maybuymoon                                          56972002bdf65a25034c9fee
 40      oasisinternationalgroup                             53a43418d9113914ed7c76ed
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 41       xianghuitechnologycoltd                              55939f1af702cb4056d49ebc
 42       suxindz                                              57dfe45739ce421067c0ec9a
 43       优米网络有限公司                                             55a72e41a86cf2405d377fa2
 44       etomalltechnologycoltd                               544f512f3dabbe774decc370
 45       sihengshangwuxinxizixunshanghaiyouxianggongsi        54acc809d630ed1ad298bc96
 46       yiwuyileebusinesscoltd                               5462c3f49719cd337490f408
 48       四衡商务信息咨询上海有限公司                                       54a3c5ccb9b7e7418cc078cb
 50       bevisn                                               5791798a69a76c66e3cfac56
 52       freebuystore                                         573837619792015934a375d2
 54       superhui                                             577e2ffb1772cb7481e1176d
 55       gentleman_gary                                       56e271df278cda16867f73fe
 56       eofly                                                579f02683c28480f5476af44
 58       fashionline                                          56cc22bacaa89b3756f2caec
 59       passion_zone                                         56cd628a08dcdf13824fd234
 60       enjoytime1                                           56e23eb831dc81169ad5ff93
 63       flyupup                                              57a2b97fc41acc659e0a4e43
 67       sleddog                                              581015e261e38656b54e6f02
 70       naturalgarden                                        56ea4c9c37121068d2db7b4f
 71       ehome11                                              56e3ef603a698c382fa5f3c4
 72       2791383638                                           5715ed35ba0e2a5922b8075a
 75       nmdrv                                                570b66f93a698c33b37a0f72
 77       lifespring                                           5864c1fdafdcff4cb447bb0d
 79       qinglongstore                                        5863b8c1edfd084e0679f14f
 84       babykingstar                                         57c513917919291c80604995
 87       suibianba678                                         5835426717dc62249a463cfa
 93       ncong                                                583bcebed914f506e35cfa31
 96       liu345                                               59b93f1752c6c9325dc6a162
 98       mamaxbd                                              58ef59aec1c94c15678e2f36
 104      bigredangel                                          58d35ea0a9254d752d594722
 105      junstore                                             58f71b19d02377257ca7b76f
 108      sshijiu                                              5acc4f756be8732e454f3ef9
 113      yidafamily                                           59140dbb2da1ba24b5fbb621
 115      wangzhenyin                                          5ac9e25cddf45b21d8ba0769
 116      thedenimshopuk                                       58d35c9899556a11a225eb25



         Plaintiff requests that the dismissal be without prejudice and without costs to either party,

and with leave for Plaintiff to seek reinstatement within 30 days from the entry of this Notice of



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Dismissal, should the Defendant fail to comply with the terms of the settlement agreement within

that time.


Dated: April 3, 2019


                                    Respectfully submitted,



                             By:      s/David Gulbransen/
                                    David Gulbransen
                                    Attorney of Record for Plaintiff

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